                   Case 23-11069-CTG            Doc 430       Filed 09/08/23        Page 1 of 6




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11
                                                             Case No. 23-11069 (CTG)
    YELLOW CORPORATION, et al.,1

                                                             (Jointly Administered)
                              Debtors.

                                                             Ref. Docket Nos. 22, 391 & 394
         EAST WEST BANK’S (I) OMNIBUS OBJECTION REGARDING (A) THE
       REJECTION PROCEDURES MOTION [DKT. NO. 391] AND (B) THE FIRST
      OMNIBUS REJECTION MOTION [DKT NO. 394] AND (II) RESERVATION OF
      RIGHTS REGARDING THE BIDDING PROCEDURES MOTION [DKT. NO. 22]

          East West Bank (“East West”), a lessor of trailers and other mobile equipment (the

“Equipment”) to the above-captioned debtors and debtors in possession (collectively, the

“Debtors”), hereby submits its (i) objection (this “Objection”) to (a) the Debtors’ Motion for Entry

of an Order (I) Authorizing and Approving Procedures to Reject Executory Contracts and

Unexpired Leases and (II) Granting Related Relief (the “Rejection Procedures Motion”) [Dkt. No.

391] and (b) and the Omnibus Motion of Debtors Seeking Entry of an Order (I) Authorizing (A)

Rejection of Certain Executory Contracts and Unexpired Leases Effective as of the Dates Specified

Herein and (B) Abandonment of Certain Personal Property, If Any, and (II) Granting Related

Relief (the “First Omnibus Rejection Motion”) [Dkt. No. 394], and (ii) its reservation of rights

regarding the Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding Procedures

for the Sale or Sales of the Debtors’ Assets; (B) Scheduling an Auction and Approving the Form

and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures, (D)



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.



4878-6136-4606.3
              Case 23-11069-CTG          Doc 430     Filed 09/08/23    Page 2 of 6




Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof; (II)(A)

Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests and

Encumbrances and (B) Approving the Assumption and Assignment of Executory Contracts and

Unexpired Leases; and (III) Granting Related Relief (the “Bid Procedures Motion”) [Dkt. No. 22].

In support thereof, East West respectfully states as follows:

                                 RELEVANT BACKGROUND

       I.      The Debtors’ Cases

       1.      On August 6, 2023 (the “Petition Date”), the Debtors commenced these chapter 11

cases (the “Chapter 11 Cases”) by filing voluntary petition for relief under chapter 11 of title 11

of the United States Code (the “Bankruptcy Code”).

       2.      Although the Debtors remain in full possession of their assets, they are in wind

down mode and plan to liquidate their operations through these Chapter 11 Cases.

       3.      As set forth in greater detail in the Declaration of Matthew A. Doheny. Chief

Restructuring Officer of Yellow Corporation, in Support of the Debtors’ Chapter 11 Petitions and

First Day Motions (the “First Day Declaration”) [Dkt. No. 14], the Debtors’ fleet was comprised

of, in addition to owned equipment, approximately 1,000 leased tractors and 7,200 leased trailers.

First Day Declaration ¶ 14. Additionally, the Debtors’ leased and owned equipment was housed at

approximately 140 leased facilities spread across 300 communities. First Day Declaration ¶¶ 41-

42.

       II.     The Parties’ Master Lease Agreement

       4.      On or about August 17, 2016, East West, as lessor, and Debtor YRC Enterprise

Services, Inc. (“YRC”), as lessee, entered into that certain Master Lease Agreement (as the same

has been amended, restated, amended and restated, supplemented, revised, and otherwise modified



                                                 2
              Case 23-11069-CTG           Doc 430      Filed 09/08/23     Page 3 of 6




from time to time, and together with all schedules and attachments thereto, the “MLA”) pursuant

to which certain Equipment was leased by East West to YRC.

       5.      Thereafter, as provided in the MLA’s terms and conditions, East West, as lessor,

entered into multiple leases and related schedules with YRC. Certain of these leases and schedules

included and provided for rights and obligations for certain affiliates of YRC, including Debtors

YRC Inc., USF Holland LLC, USF Reddaway LLC and New Penn Motor Express LLC. Finally,

in connection with the MLA, Debtor YRC Worldwide, Inc. (n/k/a Debtor Yellow Corporation),

executed a Guaranty, dated as of August 17, 2016 in favor of East West with respect to YRC’s

obligations under the MLA.

       6.      In accordance with the terms and conditions of the MLA, East West, as lessor,

retains the title for all of the Equipment. Additionally, the MLA expressly provides that the

Debtors, as lessees, have only a leasehold interest in the Equipment.

       7.      The leased Equipment consists of not less than 104 trailers, all of which are

inherently moveable. East West has asked the Debtors to confirm where the Equipment is

physically located, but as of the date of this filing, has not received any information from the

Debtors with regard to the location of the Equipment.

       8.      The Debtors are currently in default of their monthly payment obligations under the

MLA and related schedules. As of the Petition Date, and subject to further reconciliation, the

outstanding and overdue aggregate balance owed to East West was at least $34,968.68 (exclusive

of any late charges, interest, liquidated damages, and attorneys’ fees). As of this filing, the Debtors

have not paid East West any rent under the MLA and have not indicated when any such rent may

be expected to be paid. As a result, this balance has only increased on a postpetition basis.




                                                  3
               Case 23-11069-CTG         Doc 430      Filed 09/08/23     Page 4 of 6




       II.      OBJECTION TO REJECTION PROCEDURES MOTION AND FIRST
                OMNIBUS REJECTION MOTION

       9.       The Rejection Procedures Motion requests approval of certain procedures (the

“Rejection Procedures”) to be utilized by the Debtors in connection with the rejection of executory

contracts and unexpired leases of nonresidential real property during these Chapter 11 Cases. The

Rejection Procedures Motion further requests that the Court authorize the Debtors “to remove or

abandon personal property of the Debtors, including, without limitation, equipment, fixtures,

furniture and other personal property that may be located on, or may be installed in, leased

premises that are subject to a rejected Contract on or before the effective date of any proposed

rejection.” Rejection Procedures Motion ¶ 1; see also Proposed Order (the “Proposed Rejection

Procedures Order”) ¶ 2(g). “Abandoned Property” is defined by the Proposed Rejection Procedures

Order only in the most general terms as “property to be abandoned.” Proposed Rejection

Procedures Order ¶ 2(a). Moreover, such Abandoned Property need only be generally described

in the rejection notice. See id. at ¶ 2(g). If no timely objection is received, the Rejection

Procedures would permit the Debtors to deem such property abandoned as of the rejection date

and permit the landlord to dispose of the property without further liability. Id.

       10.      Neither the Rejection Procedures Motion nor the Proposed Rejection Procedures

Order offers sufficient clarity regarding what property will be deemed able to be abandoned by the

Debtors.     The Debtors certainly may choose to abandon their owned personal property in

connection with rejection of non-residential real property leases. However, any approval order

(and any related rejection notice) should clearly state that no property belonging to third parties

such as East West will be deemed abandoned to a landlord.

       11.      Moreover, the Debtors should clearly articulate their intent with regard to leased

equipment located at rejected locations and provide clarity as to the location of the inherently


                                                  4
              Case 23-11069-CTG          Doc 430       Filed 09/08/23    Page 5 of 6




movable leased equipment. Absent such clarity, the Rejection Procedures and related notices are

inadequate to provide East West with notice that a particular rejection materially impacts its

interests and injects risk and confusion around whether various equipment is abandoned.

       12.     Consequently, East West requests, among other things, that the Proposed Rejection

Procedures Order be revised to (i) require the Debtors to provide notice to any lessors of equipment

(including East West) located on premises to be rejected by the Debtors that such rejection impacts

the lessors’ equipment, (ii) specifically identify the affected equipment in a manner sufficient to

inform an equipment lessor of its interest, and (iii) provide that if leased premises where East

West’s Equipment is located are to be rejected by the Debtors, that the Debtors will work with

East West to obtain access to the premises where such Equipment is located prior to the rejection

of such premises.

       13.     Similarly, although East West is able, through counsel, to review the First Omnibus

Rejection Motion, the listing of the thirty-seven (37) leases of nonresidential real property is

functionally meaningless without any insight as to whether any of East West’s Equipment may or

may not be located at such premises. Through this Objection, East West reiterates its request that

it be apprised of the location of its Equipment.

       III.    RESERVATION OF RIGHTS REGARDING BID PROCEDURES MOTION

       14.     Among other things, the Bid Procedures Motion requests the Court’s approval of

the Debtors’ proposed bidding procedures (the “Bidding Procedures”) for certain “Assets” defined

to include “any owned or leased vehicles, tractors, trucks, trailers, tank trailer and other trailers,

or similar vehicles and trailers, railroad cars, locomotives, stacktrains and other rolling stock

(including superstructures and racks, the “Rolling Stock”). See Bidding Procedures, at 1-2

(emphasis added). The Equipment leased to the Debtors (which East West owns) would fall within



                                                   5
              Case 23-11069-CTG          Doc 430     Filed 09/08/23     Page 6 of 6




this definition of “Assets” that the Debtors may sell through these Chapter 11 Cases. While the

Debtors could seek to assume and assign the MLA in accordance with the Bankruptcy Code’s

requirements, the Debtors cannot sell East West’s Equipment without its permission.

       15.     At this time, East West cannot determine or confirm whether any proposed Sale

Transaction in connection with the Bid Procedures Motion contemplates or will contemplate the

sale or other transfer of all or a portion of its Equipment or the MLA (and/or the rights, benefits,

and interests related thereto). East West, therefore, reserves its rights with respect to any Sale

Transaction to the extent that the Debtors seek to assume and assign or otherwise transfer the MLA

or any of East West’s Equipment (and/or the rights, benefits, and interests related thereto).

       16.     East West does not waive and expressly reserves all rights, claims, remedies and

defenses and interests available under the MLA, and otherwise under applicable law. East West

further reserves its right to object to any proposed sale or assumption and assignment of the MLA.

       WHEREFORE, East West respectfully requests that the proposed orders entered in

connection with the Rejection Procedures Motion and the First Omnibus Rejection Motion be

modified so that they are consistent with the above and reserves all rights with respect to the Bid

Procedures Motion.

Dated: September 8, 2023                WILSON SONSINI GOODRICH & ROSATI, P.C.
       Wilmington, Delaware
                                        /s/ Erin R. Fay
                                        Erin R. Fay (No. 5268)
                                        Catherine C. Lyons (No. 6854)
                                        222 Delaware Avenue, Suite 800
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 304-7600
                                        E-mail: efay@wsgr.com
                                                 clyons@wsgr.com


                                        Counsel for East West Bank



                                                 6
